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                      IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              GREENVILLE DIVISION


 Owners Insurance Company,                   )       Civil Action No.: 6:22-cv-02646-TMC
                                             )
                              Plaintiff,     )
                                             )
                                             )           ALTERNATIVE DISPUTE
        vs.                                  )             RESOLUTION (ADR)
                                             )       STATEMENT AND CERTIFICATION
 Elite Builders, LLC, Republic Vanguard      )
 Insurance Company, and Quintacious          )
 Crooks as the Personal Representative of    )
 the Estate of Alyssa McMorris,              )
                                             )
                         Defendants.         )
 _________________________________           )


       Pursuant to Local Civil Rule 16.03, the undersigned certifies that he has (1) provided the

party he represents with any materials relating to ADR which were required to be provided by

Local Civil Rule 16.01 or order of the Court; (2) discussed the availability of ADR mechanisms

with the party; and (3) discussed the advisability and timing of ADR with opposing counsel.


Submitted this 8th day of December, 2022.



                                                     FAYSSOUX & LANDIS, P.A.

                                                     s/Geoffrey W. Gibbon__________________
                                                     Geoffrey W. Gibbon (Federal ID.: 10056)
                                                     209 E. Washington Street
                                                     Greenville, South Carolina 29601
                                                     Telephone: (864)233-0445
                                                     Facsimile: (864)233-4781
                                                     geoff@fayssouxlaw.com

                                                     Attorney for Elite Builders, LLC

Dated: December 8, 2022

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